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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 RED REEF ALTERNATIVE INVESTMENTS, LLC and                    )   Case No. 20-12602 (BLS)
 EMERGENT CAPITAL, INC.,                                      )
                                                              )   Jointly Administered
                               Debtors.                       )
                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 IMPERIAL PREMIUM FINANCE, LLC,                               )   Case No. 20-12694 (BLS)
                                                              )
                               Debtor.                        )

                      ORDER SCHEDULING OMNIBUS HEARING DATE


                 IT IS HEREBY ORDERED, that the following omnibus hearing date has been

scheduled in the above-captioned matter:

          DATE                       TIME

          June 16, 2021              9:00 a.m. (Eastern Time) (Omnibus Hearing)




 Dated: May 7th, 2021                          BRENDAN L. SHANNON
 Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE




DOCS_DE:234207.1 23629/002
